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7                           UNITED STATES DISTRICT COURT
8                          CENTRAL DISTRICT OF CALIFORNIA
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10   EUGENE H. J.,                           )     CASE NO. CV 19-4829-FMO (AGR)
                                             )
11                           Plaintiff,      )
                                             )     ORDER ACCEPTING FINDINGS AND
12               vs.                         )     RECOMMENDATION OF UNITED
                                             )     STATES MAGISTRATE JUDGE
13   ANDREW SAUL, Commissioner of            )
     Social Security,                        )
14                                           )
                             Defendant.      )
15                                           )
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           Pursuant to 28 U.S.C. § 636, the Court has reviewed Plaintiff’s Complaint,
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     records on file, and the Report and Recommendation of the United States Magistrate
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     Judge. No objections to the Report have been filed. The Court accepts the findings
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     and recommendation of the Magistrate Judge.
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           IT IS ORDERED that Judgment be entered reversing and remanding the
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     decision of Commissioner.
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     DATED: September 18, 2020                               /s/
25                                                 FERNANDO M. OLGUIN
                                                  United States District Judge
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